                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                               No. 5:22-CV-015-FL


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ROBERT TERRACINO and
                                                        )
BRADIE TERRACINO;
                                                        )
                                                        )
                                                        )
                           Plaintiffs,                  )               CASE MANAGEMENT ORDER
                                                        )
              v.                                        )
                                                        )
                                                        )
TRIMACO, INC., f/k/a/ TRIMACO, LLC;                     )
                                                        )
                           Defendant.1                  )
                                                        )
                                                        )



         Pursuant to Federal Rule of Civil Procedure 26(f), the parties conducted a pretrial

conference by telephone in this case on May 12, 2023, with Duncan Byers representing plaintiffs,

and John Moye and Deborah Pollack-Milgate representing defendant.                                   After reviewing

defendant’s report and plan, filed June 2, 2023,2 the court orders the following:

A.       Discovery

         1.        The parties shall exchange by June 16, 2023, the information required by Federal

                   Rule of Civil Procedure 26(a)(1).



1
          The court constructively amends the caption of this order to reflect dismissal of former defendants Charles
Cobaugh and David C. May based upon the court’s March 27, 2023, order dismissing all claims against them. The
clerk is DIRECTED to terminate defendants Charles Cobaugh and David C. May as parties.
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         According to the report, counsel for plaintiffs “advised that he had started [a] draft” of a Rule 26(f) report,
“but that he was dealing with a personal emergency.” (DE 31 at 1). Several days later, defendant’s counsel
“received no response” upon follow up. (Id. at 2).



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2.      Discovery will be necessary on the following subjects: reference is made to the

        discovery proposed to be undertaken in defendants’ report and plan.

3.      Discovery for claim construction shall be commenced or served in time to be

        completed by December 7, 2023 (hereinafter, the “claim construction discovery

        deadline”), in accordance with Local Patent Rule 304.3(b). Until entry of an order

        on claim construction by the court, discovery shall be limited to initial patent

        disclosures and fact discovery relevant to claim construction issues.

4.      The court incorporates herein by reference the parties’ agreements regarding

        discovery of electronically stored information and privileged materials, set forth at

        section 3(j) of the joint report and plan.

5.      No party shall serve more than 25 interrogatories, including all discrete subparts,

        to any other party.        Responses are due 30 days after service of those

        interrogatories.

6.      No party shall serve more than 25 requests for admissions to any other party.

        Responses are due 30 days after service of those requests for admissions.

7.      There shall be no more than 3 depositions by plaintiffs and 3 by defendant.

8.      Each deposition shall be limited to 4 hours, unless otherwise agreed by the parties.

9.      Deadlines for disclosures required by Federal Rule of Civil Procedure 26(a)(2),

        including reports from retained experts, other claim construction experts pursuant

        to Local Patent Rule 304.3(b), shall be determined following the court’s order on

        claim construction, if warranted. For issues other than claim construction to which

        expert testimony shall be directed, expert witness disclosures and depositions will


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      be governed by Local Patent Rule 305.1. The parties shall serve any objections to

      such disclosures, other than objections pursuant to Federal Rules of Evidence 702,

      703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993),

      Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) or similar case law, within 14

      days after service of the disclosures upon them. These objections should be

      confined to technical objections related to the sufficiency of the written expert

      disclosures (e.g., whether all of the information required by Rule 26(a)(2) has been

      provided, such as lists of prior testimony and publications). These objections need

      not extend to the admissibility of the expert=s proposed testimony.         If such

      technical objections are served, counsel shall confer or make a reasonable effort to

      confer before filing any motion based on those objections.

10.   Supplementations of disclosures under Federal Rule of Civil Procedure 26(e) shall

      be served at such times and under such circumstances as required by the rule. In

      addition, such supplemental disclosures shall be served by October 27, 2023. The

      supplemental disclosures served 40 days before the deadline for completion of

      claim construction discovery must identify the universe of all witnesses and

      exhibits that probably or even might be used at trial other than solely for

      impeachment. The rationale for the mandatory supplemental disclosures 40 days

      before the claim construction discovery deadline is to put opposing counsel in a

      realistic position to make strategic, tactical, and economic judgments about whether

      to take a particular deposition (or pursue follow-up “written” discovery) concerning

      a witness or exhibit disclosed by another party before the time allowed for


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                  discovery expires. Counsel should bear in mind that seldom should anything be

                  included in the final Rule 26(a)(3) pretrial disclosures that has not previously

                  appeared in the initial Rule 26(a)(1) disclosures or a timely Rule 26(e) supplement

                  thereto; otherwise, the witness or exhibit probably will be excluded at trial. See

                  Fed. R. Civ. P. 37(c)(1).

         11.      A disclosure of asserted claims and preliminary infringement contentions and

                  accompanying documents pursuant to Local Patent Rule 303.1 and 303.2 shall be

                  served by plaintiff by June 30, 2023. Each party opposing a claim of patent

                  infringement shall serve on all parties its preliminary non-infringement and

                  invalidity contentions and accompanying documents pursuant to Local Patent Rule

                  303.3 and 303.4 by August 16, 2023. The parties shall exchange the proposed

                  terms and claim elements for construction pursuant to Local Patent Rule 304.1 by

                  September 7, 2023. The parties shall exchange preliminary claim constructions

                  and extrinsic evidence pursuant to Local Patent Rule 304.2 by September 28, 2023.

         12.      The parties shall file a joint claim construction statement pursuant to Local Patent

                  Rule 304.3 by November 7, 2023. Opening briefs on claim construction shall be

                  filed by October 11, 2023. Responsive briefs shall be filed by November 1,

                  2023.3

         13.      At the close of briefing on claim construction, the parties are directed to file a joint



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          Defendant’s report and plan proposes that “Initial Dispositive Motion (Defendant) and Response to Same
(Plaintiffs)” shall be filed contemporaneously with claim construction briefing. Where the report also discloses that
defendant believes certain claim construction issues “to be dispositive,” (DE 31 at 3), in the interest of efficiency
and in accordance with Fed. R. Civ. P. 1 the court defers until after the entry of an order on claim construction the
setting of the deadline to file initial dispositive motions.

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      report wherein the parties shall propose three alternative dates of availability for

      the claim construction hearing. The report shall also notify the court whether the

      parties plan to elicit live testimony at hearing and which parties shall present first.

14.   To avoid the filing of unnecessary motions, the court encourages the parties to

      utilize stipulations regarding discovery procedures. However, this does not apply

      to extensions of time that interfere with the deadlines to complete all discovery, for

      the briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29. Nor does

      this apply to modifying the requirements of Federal Rule of Civil Procedure

      26(a)(2) concerning experts’ reports.

15.   Discovery in this case may be governed by a protective order. If the parties

      disagree concerning the need for, and/or the scope or form of, a protective order,

      the party or parties seeking such an order shall file an appropriate motion and

      supporting memorandum. If the parties agree concerning the need for and scope

      and form of a protective order, their counsel shall confer and then submit a jointly

      proposed protective order as soon as is practicable.

      a.     A jointly proposed protective order shall include, in the first paragraph, a

             concise but sufficiently specific recitation of the particular facts in this case

             that would provide the court with an adequate basis upon which to make the

             required finding of good cause for issuance of the protective order pursuant

             to Federal Rule of Civil Procedure 26(c).

      b.     Any proposed protective order shall set out the procedure for filing under

             seal confidential documents, things, and/or information, pursuant to the


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         requirements of Stone v. University of Maryland Medical System Corp.,

         855 F.2d 178, 180-181 (4th Cir. 1988). Specifically, a proposed protective

         order shall include the following language: “Each time a party seeks to file

         under seal confidential documents, things, and/or information, said party

         shall accompany the request with a motion to seal and a supporting

         memorandum of law specifying (a) the exact documents, things, and/or

         information, or portions thereof, for which filing under seal is requested; (b)

         where it is necessary for the court to determine the source of the public=s

         right to access before a request to seal may be evaluated, whether any such

         request to seal seeks to overcome the common law or the First Amendment

         presumption to access; (c) the specific qualities of the material at issue

         which justify sealing such material, taking into account the balance of

         competing interests in access; (d) the reasons why alternatives to sealing are

         inadequate; and, (e) whether there is consent to the motion. Finally, in

         addition to the motion and supporting memorandum, said party must set out

         such findings in a proposed order to seal for the court.”

   c.    Before ruling on any motion to seal the court will give the public notice of

         the motion and a reasonable opportunity to challenge it. While individual

         notice is unwarranted, the court will docket the motion reasonably in

         advance of deciding the issue, or, where applicable, the court will notify

         persons present in courtroom proceedings of the motion. The court will

         rule favorably upon any motion to seal only after carefully weighing the


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                     interest advanced by the movant and those interests favoring public access

                     to judicial documents and records, and only upon finding that the interests

                     advanced by the movant override any constitutional or common law right

                     of public access which may attach to the documents, things, and/or

                     information at issue.

             d.      The parties are directed to Section V.G. of the court=s Electronic Case Filing

                     Administrative Policies and Procedures Manual, available online at

                     http://www.nced.uscourts.gov/pdfs/cmecfPolicyManual.pdf,                  for

                     information regarding how to file and serve sealed documents through the

                     court=s Case Management/ Electronic Case Filing system (ACM/ECF@).

B.   Motions

     1.      Any motion requesting relief shall be accompanied at time of filing with a proposed

             form of order, stating its requested relief.

     2.      Any motion for leave to join additional parties or to otherwise amend the pleadings

             shall be filed by June 16, 2023.

     4.      In conjunction with the court’s order on claim construction, the court will enter

             such further order as is warranted regarding the scheduling of an additional period

             of discovery and/or initial dispositive motions. All motions to exclude testimony

             of expert witnesses pursuant to Federal Rules of Evidence 702, 703, or 705, Daubert

             v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho Tire Co. v.

             Carmichael, 526 U.S. 137 (1999), or similar case law, shall be filed by the deadline




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                  set for dispositive motions. 4 In conjunction with any such motion to exclude

                  expert testimony or response thereto, the parties shall include where available all

                  materials associated with the challenged expert, including resumes, reports,

                  depositions, and objections to qualifications.

         5.       Any motion raising a disputed issue of or relating to discovery, including any

                  disputed motion to compel, for protective order, or to alter discovery requirements

                  set forth herein (hereinafter, “discovery motions”), shall be filed and served within

                  30 days of the act or omission in discovery complained of, after good faith effort

                  between the parties to resolve issue(s), unless upon good cause shown, time for

                  filing such motion is extended. Before filing, the court requires notice of such

                  disputed discovery issue(s) for its consideration in setting a telephonic discovery

                  conference. The complaining party must notify the office of the case manager, by

                  telephone at (252) 638-8534, of the discovery dispute, and provide the parties=

                  mutually agreed to suggested dates and times for such conference.                               The

                  complaining party then will be instructed by the case manager how to transmit

                  discovery material directly bearing on the particular dispute(s), either by facsimile

                  or email, to the court for its preview. Any material provided to the court shall be

                  copied to the opposition. If the opposing party is desirous of supplementing

                  discovery material for the court, counsel similarly shall contact the case manager



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              Given the court’s specific directives expressed herein, allowance by the Local Civil Rules for filing of
motions in limine in advance of trial does not provide a renewed opportunity in this case to file motions to exclude
testimony of expert witnesses, absent showing that issues raised in motions in limine could not have been raised at the
time of deadline for filing dispositive motions.


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             by telephone, for transmittal instruction. The case manager promptly will notify

             counsel by email as to any conference setting. Discovery motions filed after the 30

             day deadline and/or without advance conference with the court, absent extenuating

             circumstances, summarily will be denied. Discovery motions ordinarily will be

             referred to a magistrate judge for ruling.

     6.      Any motion to continue must conform with the requirements set forth in Local Civil

             Rule 6.1, and also include a detailed statement as to the reason for the requested

             continuance or extension of time together with the proposed order. Continuances

             will be granted only upon showing of good cause, particularly focusing upon the

             evidence of diligence by the party seeking delay and of prejudice that may result if

             the continuance is denied.

C.   Alternative Dispute Resolution (“ADR”)

     1.      A settlement procedure is required in virtually every case, to be conducted before

             the close of discovery if the case is automatically selected for mediation pursuant

             to Local Alternative Dispute Resolution Rule 101.1a(b), or before the final pretrial

             conference if not automatically selected.

     2.      This case has been automatically selected for mediation. Reference is made to

             Local Alternative Dispute Resolution Rule 101.1 et seq. for required deadlines.

     3.      If at any time a settlement is reached, it shall be reported immediately to this court.

             The parties shall refer to Local Alternative Dispute Resolution Rule 101.1e for their

             specific obligations.




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D.     Pretrial and Trial Scheduling

       After the court has ruled on any initial dispositive motion(s), the court will enter a

scheduling order governing deadlines for further discovery, procedures for final pretrial

conference, and trial, as appropriate.

       This case management order shall not be modified except by leave of court upon a showing

of good cause, and all requirements set forth in the court’s Local Civil Rules governing pretrial

and trial procedures not altered herein shall be strictly observed.

       SO ORDERED, this the 9th day of June, 2023.




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                                              LOUISE W. FLANAGAN
                                              United States District Judge




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